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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


Andrea Zimmerman,                                    File No. 20-cv-1336 (ECT/HB)

             Plaintiff,

v.                                                               ORDER

Standard Insurance Company,

           Defendant.
________________________________________________________________________

      Magistrate Judge Hildy Bowbeer issued a Report and Recommendation on May 25,

2021. ECF No. 57. No party has objected to that Report and Recommendation, and it is

therefore reviewed for clear error. See Fed. R. Civ. P. 72(b); Grinder v. Gammon, 73 F.3d

793, 795 (8th Cir. 1996) (per curiam). Finding no clear error, and based upon all of the

files, records, and proceedings in the above-captioned matter, IT IS ORDERED THAT:

      1.     The Report and Recommendation [ECF No. 57] is ACCEPTED.

      2.     Plaintiff’s Motion to Amend Complaint [ECF No. 16] is DENIED.


Dated: June 14, 2021                     s/ Eric C. Tostrud
                                         Eric C. Tostrud
                                         United States District Court
